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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  Timothy P. Neumann, Esq. [TN6429]
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  Attorneys for Creditor and Party-in-Interest
  Wrazen Homes, LLC

  In Re:                                                      CASE NO.: 23-13873/MBK

  Louis A. Koehler, IV,
                                                              CHAPTER 13
           Debtor.



                              NOTICE OF APPEARANCE AND
                            REQUEST FOR SERVICE OF PAPERS

       PLEASE TAKE NOTICE that the undersigned, subject to the limitations and conditions

set forth hereafter, appears for Wrazen Homes, LLC, a creditor and party-in-interest in the above-

captioned case.

       PLEASE TAKE FURTHER NOTICE that, pursuant to § 1109(b) of the Bankruptcy Code

and Rule 9010(b) of the Federal Rules of Bankruptcy Procedure, the undersigned requests that all

pleadings, documents and notices (including, without limitation, not only those pleadings,

documents, and notices referred to in Bankruptcy Rule 2002, but also any orders, applications,

motions, petitions, requests, complaints, answers, replies, schedules of assets or liabilities,

statements of financial affairs, operating reports, plans of reorganization, disclosure statements or

demands, whether formal or informal, whether written or oral, and whether transmitted or
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conveyed by mail, hand delivery, telephone, facsimile, e-mail or otherwise) filed, given, or to be

given in the above-captioned case(s) be given and served upon:


                            TIMOTHY P. NEUMANN, ESQ.
                      BROEGE, NEUMANN, FISCHER & SHAVER, LLC
                                  25 Abe Voorhees Drive
                              Manasquan, New Jersey 08736
                          Email: tneumann@bnfsbankruptcy.com
                               Tel (732) 223-8484; ext. 214


       PLEASE TAKE FURTHER NOTICE that neither this notice, any subsequent appearance

(by pleading or other document or statement in court), nor any participation in or in connection

with the above-captioned case(s) is intended to be, or shall be construed as a consent to the exercise

by the Bankruptcy Court of personal jurisdiction over Wrazen Homes, LLC, or a waiver of: (i) the

right to have final orders in non-core matters entered only after review de novo by a District Court

judge; (ii) the right to trial by jury in any proceeding so triable in these cases or any case,

controversy, or proceeding related thereto; (iii) the right to have the reference withdrawn in any

matter subject to mandatory or discretionary withdrawal; or (iv) any other rights, claims, actions,

defenses, setoffs or recoupments, all of which rights, actions, setoffs, defenses and recoupments

are expressly reserved.

                                       BROEGE, NEUMANN, FISCHED & SHAVER, LLC
                                       Attorneys for Wrazen Homes, LLC

                                       /s/     Timothy P. Neumann
                                               Timothy P. Neumann, Esq.
Date: May 24, 2023




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